Case 1:20-cv-00052-SPW Document 267-23 Filed 09/27/23 Page 1 of 4

From: Ryan Shaffer <ryan@mss-lawfirm.com>

Sent: Friday, August 25, 2023 4:06 PM

To: Brett Jensen <BJensen@brownfirm.caom>

Ce: Katy Gannon <katy@mss-lawfirm.com>; Rob Stepans <rob@mss-lawfirm.comp>; Jessica Yuhas
<jessica@mss-lawfirm.com>

Subject: RE: Dr. Butz

Brett,

Thanks for the call. | think that the modifications we discussed in the MOA will alleviate our concerns
with the Authorization. We will turn a redline and clean version of the MOA around early next week.

On the testing front, Dr. Bone cannot tell if Dr. Butz is proposing a battery of neuropsychological tests
for each Plaintiff. Can you get clarification on this from Dr, Butz please.

Thanks,

Ryan R. Shaffer

Meyer, Shaffer

& Stepans, Pup

Montana Office:

430 Ryman St.
Missoula, MT 59802
Tel: 406-543-6929
Fax: 406-721-1799

Wyoming Office:

3490 Clubhouse Drive, Suite 104
Wilson, WY 83014

Tel: 307-734-9544

Fax: 307-733-3449

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From: Brett Jensen <BJensen@ brownfirm.com>
Sent: Friday, August 25, 2023 2:47 PM

To: Ryan Shaffer <ryan@mss-lawfirm.com>
Subject: RE: Dr. Butz

EXHIBIT

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Hi Ryan:

Sorry | have been tied up till now working on a deadline. | will be in the office probably until 5 if you
have a chance to call me back.

Brett C. Jensen

Brown Law Firm, P.C.

315 North 24" Street

P.O. Drawer 849

Billings, MT 59103-0849
Telephone: (406) 248-2611
Fax: (406) 248-3128

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From: Ryan Shaffer <ryan@mss-lawfirrn.com>
Sent: Friday, August 25, 2023 10:49 AM

To: Brett Jensen <Blensen@brownfirm.com>
Subject: RE: Dr. Butz

Brett,

| just tried your office, it went to vm. | am in the office today, give me a ring when you are free.
Thanks,

RS

From: Brett Jensen <Blensen@brownfirm.com>

Sent: Thursday, August 24, 2023 12:52 PM

To: Ryan Shaffer <ryan@mss-lawfirm.com>

Ce: Katy Gannon <katy@mss-lawfirm.com>; Rob Stepans <rob@mss-lawfirm.com>; Jon Wilson
<jwilson@ browntirm.com>; Michael Sarabia <MSarabia@ brownfirm.com>

Subject: RE: Dr. Butz

Okay thanks Ryan. In a mediation today but | can chat with you about it tomorrow if that works.

Brett C. Jensen
Brown Law Firm, P.C.
Case 1:20-cv-00052-SPW Document 267-23 Filed 09/27/23 Page 3 of 4

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From: Ryan Shaffer <ryan@mss-lawfirm.com>

Sent: Thursday, August 24, 2023 12:51 PM

To: Brett Jensen <Blensen@ brownfirm.com>

Ce: Katy Gannon <katy@mss-lawfirm.com>; Rob Stepans <rob@mss-lawfirm.com>
Subject: Dr. Butz

Hey Brett,

Katy Gannon and | have been talking about Dr. Butz’s Authorization. Given that he is going to be a
signatory to the MOA, there may be a way to work with his proposed Authorization. There are still
probably a couple non-starters, like the fee clause that would require my clients to pay Aspen’s bill if the
Brown firm does not... but that should not be controversial.

Give me a ring and maybe we can work through it.

Thanks,

Ryan R. Shaffer

Meyer, Shaffer

& Stepans, pL

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